
SMITH, C.
Action for trespass on plaintiff’s lands by defendant’s sheep. The plaintiff recovered $350 damages, with costs. It is claimed there was no evidence of trespass by any sheep of defendant, or that plaintiff was damaged in the sum of $350, or in any sum. The evidence seems to establish the trespasses complained of, beyond doubt, and plaintiff testified as to the nature and amount of the damage thereby caused. His estimate may have been excessive, and it was in fact cut down by the court, but it cannot be said there was no evidence to support the finding. I advise that the judgment and order denying a new trial be affirmed.
We concur: Haynes, C.; Chipman, C.
PER CURIAM.
For the reasons given in the foregoing opinion the judgment and order denying a new trial are affirmed.
